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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF TEXAS
FORT WORTH DIVISION

MOTOCICLETTA, INC.,
Plaintiff,
VS. CASE NO. 4:17-cV-7 28

PHILADELPHIA INDEMNITY
INSURANCE COMPANY,

DOOOOOOO'JCMWDCMCOOGO'JWJOO'J

Defendcmt.

DEFENDANT PHILADELPHIA INDEMNITY INSURANCE
COMPANY’S NOTICE OF REMOVAL

TO THE HONORABLE UNITED STATES DISTRICT JUDGE:

Pursuant to 28 U.S.C. §§ 1332, 1441(b) and 1446(a), Philadelphia
Indemnity Insurance Company, the Defendant in the above-styled case, files
this Notice of Removal from the 348th Judicial District Court of Tarrant County,
Texas to the United States District Court for the Northern District of Texas, Fort

Worth Division.

INTRoDUCTIoN
1. Plaintiff is Motocicletta, Inc. (“Plaintiff”).
2. Philadelphia Indemnity lnsurance Company (“Defendant”) is the only
Defendant.
3. Plaintiff commenced this first-party insurance case on August 22,

2017. Plaintiff asserted causes of action arising under Texas law for Defendant’s
alleged breach of contract, violation of the Pronipt Payment of Claims Act (Tex. Ins.

Code. Ch. 542), unfair claims settlement practices in violation of Tex. Ins. Code

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ch. 541, violating the Texas Deceptive Trade Practices Act, negligence, and
breaching the duty of good faith and fair dealing.

4. Philadelphia is timely filing this Notice of Removal by removing this
action “Within thirty days after receipt by the defendant, through service or
otherwise, of a copy of an amended pleading, motion, order or other paper from
Which it may first be ascertained that the case is one Which is or has become
removable.” 28 U.S.C. § 1446(b)(3).

VENUE IS PRoPER

5. Pursuant to 28 U.S.C. § 1441(a), this action may be removed to this
Court because it is the district and division embracing Tarrant County, Texas, the
county in Which the state court action is pending.

BAsIs FoR REMovAL

6. This is a civil action that falls under the Court’s original jurisdiction
pursuant to 28 U.S.C. § 1332(a) and is one that may be removed to this Court based
on diversity of citizenship in accordance With 28 U.S.C. §§ 1441 and 1446.

A. Complete Diversitv of Citizenship Exists BetWeen Plaintiff and
Defendant.

7. Plaintiff is a for-profit corporation formed under the laws of the State
of TeXas that maintains its principal place of business in Tarrant County. See
Plaintiffs Articles of Incorporation and Plaintiffs Texas Franchise Tax Public
lnformation Report (attached as EXhibit 1); see also Pl.’s Orig. Pet. 11 2 (part of

EXhibit 4) (Plaintiff “is a TeXas Corporation.”).

 

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8. Philadelphia is a corporation organized and existing under the laws of
the State of Pennsylvania. See Affidavit of Eugene Angiolillo, attached as EXhibit 2
(attesting to facts that Philadelphia is incorporated in and maintains its principal
place of business in Pennsylvania); see also Pl.’s Orig. Pet. 11 3 (identifying
Defendant as “a Pennsylvania insurance company”).

B. The Amount in Controversv Exceeds $75,000.

9a Plaintiff alleges it is suing for “monetary relief over $200,000.” Pl.’s
Orig. Pet. 11 6.
10. Plaintiff therefore seeks damages, exclusive of interest and attorney’s

fees, in excess of the jurisdictional minimum of $'75,000.

C. Removal Is Appropriate Under the Court’s Diversitv Jurisdiction.

11. In light of these facts, the state court claim may be removed to this
Court because: (i) this action is a civil action pending Within the jurisdiction of the
United States District Court for the Northern District of Texas; (ii) none of the
parties in interest properly joined and served as defendants is a citizen of the State
in Which such action is brought, 28 U.S.C. § 1441(b)(2); and (iii) the amount in
controversy exceeds $75,000, exclusive of interests and costs.

FILING OF REMOVAL PAPERS

12. Pursuant to 28 U.S.C. §1446(d), Philadelphia is providing Written

notice of the filing of this Notice of Removal to all other counsel of record. Further,

Philadelphia is filing a copy of this Notice of Removal With the Clerk of the 348th

 

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Judicial District Court of Tarrant County, Texas, where Plaintiff commenced this
action.

13. Philadelphia is filing the following items concurrently with this Notice
of Removal, or attaching them to this Notice of Removal as required by Northern
District of Texas Local Rule 81.1:

(a) completed versions of JS-44 Civil Cover Sheet, and Supplement to
JS44 Civil Cover Sheet (Exhibit 3);

(b) an index of all documents that identifies each document filed in
the state court action, except discovery material, With each
document individually tabbed and arranged in chronological order
according to the state court file date, with copies of each such
document (EXhibit 4);

(c) all executed process in the case (Exhibit 5);
(d) a copy of the docket sheet in the state court action (Exhibit 6);

(e) a separately signed certificate of interested persons that complies
With LR 3.1(c) or 3.2(e); and

(f) a list of all counsel of record (EXhibit 7).

CoNcLUsIoN
14. Philadelphia gives notice to the Court of their removal of the above-
captioned action from the 348th Judicial District Court of Tarrant County, Texas,
and request that further proceedings be conducted in the United States District

Court for the Northern District of Texas, Fort Worth Division, as provided by law.

Dated: September 7, 2017

 

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Respectfully submitted,

/s/ William R. Pilat
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Admitted in Northern District of Texas
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ATToRNEY-IN-CHARGE FoR DEFENDANT
PHILADELPHIA INDEMNITY INsURANCE
CoMPANY

OF CoUNsEL:

Andrew J. Mihalick

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CERTIFICATE OF SERVICE

l certify that on September '7, 2017, a true and correct copy of the foregoing
Notice of Removal was forwarded to all other counsel of record, as listed below,
through the electronic case filing system of the United States District Court for the
Northern District of Texas:

Timothy M. Hoch

HocH LAw FIRM, P.C.
5616 l\/lalvey Avenue
Fort Worth, Texas 76107

/s/ William R. Pilat
William R. Pilat

 

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